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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:14CR00151-01 JLH

STEVEN DWAYNE OTEY, SR.                                                              DEFENDANT

                                             ORDER

       On October 6, 2016, Steven Dwayne Otey, Sr., filed a motion for reduction of his sentence.

The Court directs the United States to file a response to the motion within seven days from the entry

of this Order.

       IT IS SO ORDERED this 24th day of October, 2016.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
